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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                   9/15/2022


WAYNE BALIGA,

                                            Plaintiff,               18-CV-11642 (VM) (VF)

                          -against-                                          ORDER

LINK MOTION INC., et al.

                                            Defendants.

-----------------------------------------------------------------X

VALERIE FIGUEREDO, United States Magistrate Judge:

        Pursuant to this Court’s Order dated August 22, 2022 (ECF No. 329), granting in part and

denying in part Defendant Vincent Wenyong Shi’s letter motion requesting that certain “Sealed

Documents” be unsealed and placed on the public docket in this action (ECF No. 306), the

Receiver, Robert W. Seiden, Esq., was “directed to provide the Court, by no later than Monday,

September 12, 2022: (1) proposed redactions to the Category 1 Documents;1 (2) copies of the

unredacted documents; and (3) a letter explaining the basis for the proposed redactions.” ECF

No. 329 at 5. The Order further provided that “[f]ollowing an in camera review of the proposed

redactions, the Category 1 Documents will be unsealed and placed on the public docket.” Id.

        On September 12, 2022, counsel for the Receiver provided this Court with twelve

“Category 1” documents that were originally filed under seal and stated that the Receiver did not

propose any redactions to the documents. Counsel for the Receiver further stated that three of the

twelve documents (the status reports dated May 2, 2020, May 20, 2020, and July 17, 2020) were


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         Category 1 documents include “[s]tatus reports, letters, and other written
communications to the Court concerning the activities of the Receivership.” ECF No. 329 at 3
(citing ECF No. 319 at 1-2).
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previously unsealed and filed on the docket (see ECF Nos. 220-2, 220-3, and 220-4). The

Receiver is directed to file the remaining nine “Category 1” documents on the public docket in

this action by no later than Thursday, September 22, 2022.

       SO ORDERED.

DATED:        New York, New York
              September 15, 2022




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                                                    VALERIE FIGUEREDO
                                                    United States Magistrate Judge
